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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:15CR00209-06 DPM

JOHNNY MORROW                                                                        DEFENDANT

                                             ORDER

       On August 31, 2016, Defendant appeared before the Court with counsel after being arrested

pursuant to a warrant I issued for a positive drug test showing illegal methamphetamine use. After

hearing evidence about the positive drug screen - and Defendant’s other failures to comply with his

conditions of release - I find Defendant used methamphetamine, threatened his pretrial services

officer, and has failed to generally follow the condition of home detention. However, I concluded

Defendant should be given one more chance to remain on bond.

       Based on the evidence presented at the hearing, I find additional conditions are warranted.

The additional conditions include 1) Defendant shall be again placed on home detention with

electronic monitoring and shall not leave his residence for any purpose other than those approved

by his supervising pretrial services officer; 2) Defendant shall provide his pay stubs showing his

employment on a weekly basis; 3) Defendant shall not associate with felons; 4) Defendant shall not

have multiple guests at his home; 5) a “sweat patch” shall be placed on Defendant; 6) Defendant

shall undergo a mental health assessment.

       On September 1, 2016, I was advised by the United States Probation Office that Defendant

left his residence and was unaccounted for. He later contacted his officer and said he took his

children to school. This is a violation of my Order and should result in my issuing a warrant for his

arrest. Instead, at the recommendation of the Pretrial Services Officers, I will order the additional


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condition of GPS monitoring.

       Defendant is once again warned that his bond shall be revoked and a warrant shall issue if

he fails to follow my Order setting conditions of release. This shall be the last warning.

       IT IS SO ORDERED this 1st day of September, 2016.



                                                     JOE J. VOLPE
                                                     UNITED STATES MAGISTRATE JUDGE




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